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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION


 SANDRA CAMACHO,                                     §
                                                     §
           Plaintiff,                                §
                                                     §
 v.                                                  §        CIV. ACTION NO. 20-cv-272
                                                     §
 AT&T CORP.,                                         §
                                                     §
           Defendant.                                §        JURY TRIAL DEMANDED

                            DEFENDANT’S NOTICE OF REMOVAL

TO THE CLERK OF THE COURT:

       PLEASE TAKE NOTICE that, on this date, Defendant AT&T Corp. (“AT&T” or

“Defendant”) files this Notice of Removal pursuant to 28 U.S.C. §§ 1441 and 1446, removing this

matter from the District Court of El Paso County, Texas, to the United States District Court for the

Western District of Texas, El Paso Division. In support of its Notice of Removal, AT&T states as

follows:

                             I.      PROCEDURAL BACKGROUND

       1.         This action was commenced on September 30, 2020, by the filing of Plaintiff’s

Original Petition (the “Petition”) in the 210th Judicial District Court of El Paso County, Texas,

and assigned Cause No. 2020DCV3160 (“State Action”).

       2.         In her Petition, Plaintiff Sandra Camacho (“Plaintiff”) alleges that AT&T’s conduct

during Plaintiff’s employment resulted in violations of the Americans with Disabilities Act,

42 U.S.C. § 12101, et seq. (the “ADA”) and the American with Disabilities Act Amendments Act

of 2008 (the “ADAAA”).

       3.         As set forth fully below, AT&T is timely removing the State Action to this Court

based on federal question jurisdiction.


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                       II.     FEDERAL JURISDICTION IS PROPER

       4.       Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the defendant

or the defendants, to the district court of the United States for the district and division embracing

the place where such action is pending.”

       5.       This case satisfies the requirements for federal question jurisdiction under

28 U.S.C. § 1331 because Plaintiff has asserted claims under the ADA and ADAAA.

Consequently, removal is proper pursuant to 28 U.S.C. § 1441.

       6.       Moreover, AT&T is timely filing this Notice of Removal within thirty (30) days of

service of the Petition. 28 U.S.C. § 1446(b)(1).

       7.       In accordance with the terms of 28 U.S.C. § 1446(d), AT&T will promptly serve a

copy of this Notice of Removal on counsel for Plaintiff and will file a copy with the Clerk for the

210th Civil District Court Clerk, El Paso County, Texas.

       8.       This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of Civil

Procedure.

       9.       Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders that

have been served on Defendant is attached hereto. (See Exhibits 1 through 4).

       10.      Removal to the U.S. District Court for the Western District of Texas, El Paso

Division, is proper because this district and division includes El Paso County where the Petition is

pending. See 28 U.S.C. § 1441(a).

       11.      The following documents are also being electronically filed with this Notice of

Removal:

       a.       Civil Cover Sheet (See Exhibit 5); and




DEFENDANT’S NOTICE OF REMOVAL                                                                  Page 2
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       b.       Supplemental Civil Cover Sheet (See Exhibit 6).

       12.      By filing this Notice of Removal, AT&T reserves its right to answer the Petition

and/or assert any claims, defenses, or other motions as permitted by the Federal Rules of Civil

Procedure.

                                         CONCLUSION

       For the foregoing reasons, Defendant AT&T Corp. respectfully requests that this Court

accept this Notice of Removal, that further proceedings in the State Court Action be discontinued

and that this suit be removed to the United States District Court for the Western District of Texas,

El Paso Division.


Dated: November 2, 2020                              Respectfully submitted,


                                                     /s/ Stacey Cho Hernandez
                                                     Courtney Barksdale Perez
                                                     Texas Bar No. 24061135
                                                     cperez@carterarnett.com
                                                     Stacey Cho Hernandez
                                                     Texas Bar No. 24063953
                                                     shernandez@carterarnett.com
                                                     Ruben Gandia
                                                     Texas Bar No. 24093472
                                                     rgandia@carterarnett.com
                                                     CARTER ARNETT PLLC
                                                     8150 N. Central Expressway
                                                     Suite 500
                                                     Dallas, Texas 75206
                                                     Tel: 214-550-8188
                                                     Fax: 214-550-8185

                                                     ATTORNEYS FOR DEFENDANT,
                                                     AT&T CORP.




DEFENDANT’S NOTICE OF REMOVAL                                                                 Page 3
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                                CERTIFICATE OF SERVICE
       I hereby certify that on November 2, 2020, a true and correct copy of this document was

served in accordance with the Federal Rules of Civil Procedure on all counsel of record.



                                                    /s/ Stacey Cho Hernandez
                                                    Stacey Cho Hernandez




DEFENDANT’S NOTICE OF REMOVAL                                                              Page 4
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                                                          REGISTER OF ACTIONS
                                                                                                         1          Location : All Courts Help


                                                             CASE NO. 2020DCV3160

Sandra Camacho vs AT&T Corp.                                             §                         Case Type: Wrongful Termination
                                                                         §                         Date Filed: 09/30/2020
                                                                         §                          Location: 210th District Court
                                                                         §
                                                                         §


                                                                 PARTY INFORMATION

                                                                                                                  Lead Attorneys
Defendant       AT&T Corp.


Plaintiff       Camacho, Sandra                                                                                   ENRIQUE CHAVEZ, Jr.
                                                                                                                   Retained
                                                                                                                  915-351-7772(W)


                                                            EVENTS & ORDERS OF THE COURT

             OTHER EVENTS AND HEARINGS
09/30/2020   Original Petition (OCA)      Doc ID# 1
09/30/2020   E-File Event Original Filing
10/01/2020   Request      Doc ID# 2
10/07/2020   Citation
                AT&T Corp.                                        Served                   10/14/2020
                                                                  Response Due             11/09/2020
                                                                  Returned                 10/23/2020
11/02/2020 Answer        Doc ID# 3




https://casesearch.epcounty.com/PublicAccess/CaseDetail.aspx?CaseID=8483090                                                           Page 1 of 1
                       Case 3:20-cv-00272-DCG Document 1 Filed 11/02/20 Page 6 of 23
El Paso County - 210th District Court                                                                                    Filed 9/30/2020 6:10 PM
        ,
                                                                                                         2                       Norma Favela Barceleau
                                                                                                                                            District Clerk
                                                                                                                                         El Paso County
                                                                                                                                          2020DCV3160
             ·SANDRA CAMACHO,
                       Plain tiff, .
              v.                                                                CAUSE NO.
              AT&T CORP.,
                       Defendant.
                                           PLAINTIFF'S ORIGINAL PETITION AND
                                                  REQUEST FOR DISCLOSURE

              TO THE HONORABLE COURT:

                       Plaintiff SANDRA CAMACHO ("Employee Camacho"), files this Original Petition complaining

              of AT&T CORP. ("Employer AT&T") and respectfully shows as follows:

              I. DISCOVERY LEVEL

              1. Discovery is intended to be conducted under Level 2 of Rule 190 of the Texas Rules of Civil

                   Procedure.

              II. PARTIES

              2.   Plaintiff, SANDRA CAMACHO, is an individual residing in El Paso, Texas.

              3. Defendant, AT&T CORP., is a foreign for-profit corporation whom may be served with process by

                   serving its registered agent, C T Corporation System at 1999 Bryan St., Ste. 900, Dallas, Texas

                   75201-3136.

              III; VENUE

              4.   Pursuant to Texas Civil Practice and Remedies Code Section 15.002, venue is proper in El Paso
                                                                                 . • -   ::   ~   rf.~       .•. •   l    lo.,   >.   ~   •   <   • '•   I   \.




                   County, Texas because all or a substantial part _of the events or omissions giving rise to Plaintiff's

                   claims occurred in El Paso, Texas.

              Iv. CHRONOLOGY OF FACTS

              5.   Employers MUST prevent disability discrimination against employees to protect employees from

                   financial injuries and emotional trauma.

              6. When not an undue burden, employers MUST provide reasonable accommodation to the known

                   disabilities of employees to protect employees from financial injuries and emotional trauma.

                                                                 1of6
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7.   Employers MUST prevent retaliatory job terminations against employees who file EEOC Charges of

     Discrimination and engage in protected activity to protect employees from financial injuries and

     emotional trauma.

8. AT&T CORP. is an employer.

9.   Employer AT&T is an employer which MUST prevent disability discrimination against employees to

     protect employees from financial injuries and emotional trauma.

10. When not an undue burden, Employer AT&T is an employer which MUST provide reasonable

     accommodations for disabled employees to protect employees from financial injuries and emotional

     trauma.

11. Employer AT&T is an employer which MUST prevent retaliatory job terminations against employees

     who file EEOC Charges of Discrimination and engage in protected conduct to protect employees

     from financial injuries and emotional trauma.

12. On March 3, 1997, Employer AT&T hires an employee.

13. Nineteen years later in 2016, Employer AT&T is on notice that the Employee has developed chronic

     pharyngitis and chronic sinusitis which affects the employee's ability to speak.

14. Onjanuary I, 2016, Employer AT&T begins an evaluation period that evaluates the performance of

     its employees fromjanuary I, 2016 untiljune 30,2016.

15. In January of 2016, Employer AT&T is on notice that the employee has taken FMLA leave for the

     chronic pharyngitis and chronic sinusitis.

16. On or aboutjanuary 11, 2016, Employer AT&T Supervisor, Antonio Alvarez, gives the employee a

     Letter of Warning for low performance points, even though Employer AT&T is aware that the

     employee's disability, chronic pharyngitis and chronic sinusitis, affect the employee's ability to perform

     her job without reasonable accommodation.




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 17. Employer AT&T is then put on notice to provide a reasonable accommodation for the employee, due

    to the employee's disability, chronic pharyngitis and chronic sinusitis,_ which affect the employee's

    ability to perform her job without a reasonable accommodation.

 18. Employer AT&T refuses to provide reasonable accommodation for the employee.

 19. Instead, on February 24, 2016, Employer AT&T Supervisor, Antonio Alvarez, gives the employee a

    Final Letter of Employment Warning for not having met performance goals, despite her previous

    requests that he disability be accommodated.

 20. On March 2016, Employer AT&T is on notice that the employee takes medical leave relating to her

    disability and the harassment she is receiving at the hand of Supervisor Alvarez.

 21. On April 2016, Employer AT&T is o~ notice that the employee again' takes medical leave relating to

    her disability and harassment due to her disability..

 22. On or about April 5, 2016, Employer AT&T is on notice that the employee engages in legally

    protected activity when the employee files a disability discrimination charge with the EEOC .

. 23. On April 15, 2016 through May 31, 2016, Employer AT&T is on notice that the employee is on

    disability leave.

24. Onjune 30, 2016, Employer AT&T ends the evaluation period that evaluates the performance of its

    employees from January 1, 2016 until June 30, 2016.

25. After the evaluation period ends, in July 2016, Employer AT&T is aware that the employee's

    performance is at a high 113%, during a time when her disabilities are in a lull.

26. Onjuly 28, 2016, Employer AT&T terminates the employee's employment for supposedly not having

    met performance goals during a period when AT&T refused to provide the employee with a

    reasonable accommodation for her disabilities and had been on medical disability leave.

27. The employee whose employment Employer AT&T terminates is Sandra Camacho.




                                                   3 of 6
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V. CAUSES OF ACTION:

A. Disability Discri:rnination

28. Plaintiff was discriminated, retaliated against, and fired in violation of the Americans with Disabilities

    Act (ADA), and the Americans with Disabilities Act Amendments Act (ADAAA), which protect

    disabled employees from discrimination and retaliation.

B. Refusal to Provide a Reasonable Accommodation

29. Defendant committed unlawful acts when it repeatedly refused to provide a reasonable

    accommodation to Plaintiff's disabilities, and instead penalized Plaintiff for being disabled and for

    being on leave due to her disability.

VI. NOTICE OF RIGHT TO SUE

30. Attached as Exhibit A is the Notice of Right to Sue from the Equal Employment Opportunity

    Commission.

VI. NOTICE OF RIGHT TO FILE A CIVIL ACTION

31. Attached as Exhibit A is the Notice of Right to Sue issued by the Equal Employment Opportunity

    Commissioin.

VII. DAMAGES

32. As a direct and proximate result of Defendant's retaliation and conduct against Plaintiff as described

    above, Plaintiff has suffered harms and losses. Plaintiff's harms and losses include in the past and the

    future: lost wages and benefits, employment opportunities, lost income; loss of earning capacity;

    mental anguish; emotional pain and suffering, inconvenience, loss of enjoyment of life, and other

    non-pecuniary losses.

VIII. JURY TRIAL DEMAND

33. Plaintiff demands a jury trial.




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     IX. REQUEST FOR DISCLOSURE

     34. Under Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant disclose, within 50 days

        of the service of this request, the information or material described in Rule 194.2.

     X. ATTORNEYS' FEES AND COSTS

     35. Plaintiff is entitled to recover reasonable and necessary attorney's fees and costs under the ADA and

        theADAAA.




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PRAYER

        Plaintiff prays that she recover from Defendant monetary relief over $200,000.00 but not more

than $1,000,000.00, statutory damages under the ADA and ADAAA; general damages; special damages;

punitive damages as determined by the jury; reinstatement; prejudgment interest as provided by law;

attorney's fees and expert fees; post-judgement interest as provided by law; court costs and all costs of suit;

and such other and further relief to which Plaintiff may be justly entitled to, in law and in equity. Such

damages sought by Plaintiff are within the jurisdictional limits of the court.

        SIGNED on this 30th day of September, 2020.




                                                   Respectfully submitted,

                                                   Chavez Law Firm
                                                   2101 N. Stanton Street
                                                   El Paso, Texas 79902
                                                   915/351-7772




                                          By:
                                                   Enrique C vez, Jr.
                                                   enriquechayezjr@chayezlawpc.com
                                                   State Bar No.: 24001873
                                                   Attorney for Plaintiff




                                                    6 of 6
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 EEOC Form 161-8 (11/16)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE {ISSUED ON REQUEST)
 To:    Sandra I. Camacho                                                               From: · Chicago District Office
        clo Enrique Chavez, Esq.                                                                230 S. Dearborn
        2101 North Stanton                                                                      Suite 1866
        El Paso, TX 79902                                                                       Chicago, IL 60604 .



       D          On behalf.of person(s) aggrieved whose identity is
                · CONFIDENTIAL (29 CFR §1601.((a))

 EEOC Charge No..                                        EEOC Representative                                           . Telephone No.

                                                         Nanisa Pereles,
 453-2016-00653                                          Enforcement Supervisor                                         (312) 872-9720
                                                                                    (See also the additional information enclosed-with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA inust.be filed in a federal or state court WITHIN 90 DAYS
of your·receipt of this notice; or.your right to sue based on this charge will be lost. (The time iimit for filing suit based on a claim under
state law may be different.)                                                   ·

                 More than 180 days have passed since the filing of this charge.

                 Less than 18.D days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                 be able to complete its administrative processing within 180 days from the filing of this charge.
                 The EEOC is terminating its processing of this charge.

                 The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the. paragraph marked below applies to
your case:
       D         The EEOC is closing your case. Therefore, your lawsuit ~nder the ADEA must be filed in federal or state court WITHIN
                 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

       D         The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this offi.ce.


                                                                         On behalf of the Commission



                                                                                                                      9/16/2020
 Enclosures(s)                                                                                                               (Date Mailed)
                                                                       Julianne Bowman;
                                                                        District Director

cc:           Marcia Williams
              Sr. Project Manager
              AT&T SERVICES INC.
              311 S. Akard Street
              7th Floor, Suite A30
              Dallas, TX 75202
                                   Case 3:20-cv-00272-DCG Document 1 Filed 11/02/20 Page 13 of 23
j   .   \.   •.•
                    Enclosure with EEOC
                    Form 161-B (11/16)
                                                           INFORMATION RELATED TO FILING SUIT
                                                         UNDER THE LAWS ENFORCED BY THE EEOC

                                          (This information relates to filing suit in Federal or State court under Federal law.
                                 If you also plan to sue claiming violations of State law, please be aware that time limits and other
                                        provisions of State law may be shorter or more limited than those described below.)

                                                      Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                   PRIVATE SUIT RIGHTS · ••
                                                      the Genetic Information Nondiscrimination Act (GINA), or the Age              ·
                                                      Discrimination in J:mployment Act (ADEA):

                    In order to pursue this matter further, you must file a li;iwsµit against the respondent(s) named in the charge within
                    90 days of the date you receive this Notice. Therefore, you should keep a record ·of this date. Once this 90-
                    day period is over, your right to sue based on the charge referred to in this Notice will be lost. l·f you intend to
                   ·consult an attorney, you should do so promptly. Give your attorney a copy of this Notice: and its envelope, and tell
                    him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
                    manner, it is prudent that your suit be filed within 9o days of the date this Notice was mailed to you (as
                    indicated where the Notice is signed) or the date of the postmark, if later.
                   Your lawsuit may be filed in U.S. District Court or a State court.of competent jurisdiction. (Usually, .the appropriate
                   State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
                   after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
                   statement of the facts of your case which shows that you are entitled to relief. Courts often. require that a copy of
                   your charge.must be attached to the complaint you file in court. If so, you should remove your birth date from the
                   charge. Some. courts will not accept your complaint where the charge includes a date of birth. Your suit may include
                   any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
                   alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
                   some cases can be brought where relevant employment records are kept, where the employment would have
                   been, o.r where the respondent has its main office. If you have simple questions, you usually can get answers from
                   the office of the Clerk of the court .where you are bringing suit, but do not expect that office to write your complaint
                   or make legal strategy decisions for you.

                   PRIVATE SUIT RIGHTS               Equal Pay Act (EPA):

                   EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
                   pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
                   example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
                   before 7/1/10 - not 12/1/10 -- in order to receiver unpaid wages due for July 2008. This time limit for filing an EPA
                   suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to. above.
                   Therefore, if you also plan to. sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
                   claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

                   ATTORNEY REPRESENTATION              --   Title VII, the ADA or GINA: .

                   If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
                   in your case may, in limited circumstances, assist yo·u in obtaining a lawyer. Requests for such assistance must be
                   made to .the U.S. District Court in the form and manner it requires (you shol,Jld be prepared to explain in detail your
                   efforts to retain an· attorney). Requests should be made well before the end of the 90-day period mentioned above,
                   because such requests do not relieve you of the requirement to bring suit within 90 days.

                   ATTORNEY REFERRAL AND EEOC ASSISTANCE                    --   All Statutes:

                   You may contact the EEOC representative shown on your Notice if you need help in finding a ·lawyer or if you have any
                   questions about your legal rights, including advice on which .U.S. District Court can hear your case. If you need to
                   inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
                   your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
                   are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
                   file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
                   made within the next 90 days.)

                                     IF YOU FILE SUIT, PLEASE SEND A    COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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>   •   fl    •



           NOTICE OF RIGHTS UNDER THE- ADA. AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
         \ amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals· to
           be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
           substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
           impairment; or (3) being regarded as having a disability. However, these terms qre redefined, and it is easier to
           be covered under the new law.

              If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
              information with your attorney and suggest that he or she consult the amended regulations and
              appendix,       and       · other        ADA         related publications,   available      at
              http://www.eeoc.gov/laws/types/disability regulations.cfm.

              "Actual" disability or a "record of'' a disability (note: if you are pursuing a failure to accommodate claim
              you must meet the standards for either "actual" or "record of'' a d.isability):

                  >   The limitations from the impairment no longer have· to be severe or significant for the impairment to
                      be considered substantially limiting.
                  >   In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
                      learning, thinking; concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
                      1630.2(i)), "major life activities" now include the operation of major bodily functions, such as:
                      functions of the immune system, special sense organs arid skin; normal ·cell growth; and digestive,
                      genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
                      hemic, lymphatic, musculoskeleta1, and reproductive functions; or the operation of an "individual organ
                      within a body systein.
                  >   Only one major life activity need be substantially limited.
                  >   With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of "mitigating
                      measures" (e.g., hearing aid, prosthesis, medication; therapy, behavioral modifications) are not
                      considered in determining if the impairment substantially limits a major life activity.  ·       _
                  >   An impairment that is "episodic" (e.g., epilepsy, depression, multiple sclerosis) or "in remission" (e.g.,
                      cancer) is a disability if it would be substantially limiting when active.
                  >   An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
                      months.

             "Regarded as" coverage:
              > An individual can meet .the definition of disability if an employment action was taken because of an
                 actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
                 termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
                 condition, or privilege of employment).
              > ·"Regarded as" coverage under the ADAAA no longer requires that an impairment· be substantially
                 limiting, or that the employer perceives the impairment to -be substantially limiting.
              > The employer has a defense against a "regarded as" claim only when the impairment at issue is objectively
                 BOTH transitory (lasting or expected to last six months or less) AND minor.                 ·
              > A person is not able to bring a failure to accommodate claim if the individual is covered only under the
                 "regarded as'l definition of "disability."

              Note: Although the amended ADA states that the defifl.ition of disability "shall be construed broadly" and.
              "should not demand extensive analysis," some courts require specificity in the complaint explaining how an
              impairm<?nt substantially limits a major life activity or what facts indicate the ciiallenged employment action
             .was because of the impairment. Beyond the initial pleading stage; some courts will require specific e1Jiden·ce
              to establish disability. For inore iruormation, consult the ·amended regulations and. appendix; as well as
              explanatory publications, available at http://www.eeoc.gov/laws/types/disability regulations.cfm.
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                             Case 3:20-cv-00272-DCG Document 1 Filed 11/02/20 Page 15 of 23
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                                                          AT&T CORP.
                                                   CT CORPORATION SYSTEM
                                                    1999 BRYAN ST. STE. 900
                                                     DALLAS, TX 75201-3136




                                        ..
                            ;_: . -- .I
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                                             THE STATE OF TEXAS
         NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you, or your attorney, do not
file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you."

TO: AT&T CORP., who may be served with process by serving its registered agent, CT CORPORATION SYSTEM at
1999 BRYAN ST., STE. 90'0, DALLAS, TX 75201-3136.

Greetings:
          You are hereby commanded to appear by filing a written answer to the Plaintiff's Original Petition and Request
                                '
for Disclosure at or befo(e ten o'clock A.M. of the Monday next after the expiration of twenty days after the date of
                            '
service of this citation befote the Honorable 21oth Judicial District Court, El Paso County, Texas, at the Court House of
said County in El Paso, Texas.
                            ;1
          Said Plaintiffs Orig:inal Petition was filed in said court on the 301h day of September, 2020, by Attorney at Law,
                            f~

ENRIQUE CHAVEZ, JR., 2101 N. STANTON STREET, EL PASO, TX 79902 in this case numbered 2020DCV3160 on the
docket of said court, and styled:
                                                   SANDRA CAMACHO
                                                             vs.
                                                        AT&T CORP.

      The nature of Plai~~iff s demand is fully shown by a true and correct copy of the Plaintiff's Original Petition and
Request for Disclosure accompanying this citation and made a part hereof.
                                !

          The officer executi~g this writ shall promptly serve the same according to requirements of law, and the mandates
thereof,. and make due return as the law directs.
                            ;1
          Issued and given uhder my hand and seal of said Court at El Paso,. Texas, on this the 7th day of October, 2020.

Attest:




                                                                   October, 2020 at 11: 18 AM I mailed to:
                                                                   AT&T CORP.
                                                                   CT CORPORATION SYSTEM
                                                                   1999 BRYAN ST. STE. 900
                                                                   DALLA$, TX 75201-3136
                                                                   Defehdant(s) by registered mail or certified mail
                                                                   with delivery restricted to addressee only, return
                                                                   receipt requested, a true copy of this citation
                                                                   with a copy of the Plaintiff's Original Petition
                            (
                                                                   and Request for Disclosure attached thereto.
          *NAME OF PREPARERi                        TITLE


                                                                          fVl~1!±~·~
                            'I
          ADDRESS

                            ~
          CITY                       STATE            ZIP
                                ·'                                                       TITLE




                                j"

                            fl
                     Case 3:20-cv-00272-DCG Document 1 Filed 11/02/20 Page 17 of 23

                                                     RETURN OF SERVICE


Delivery was completed on - - - - - - - - - - - - ' delivered to _ _ _ _ _ _ __ _ _ , . . . - - - - - - - - -
- - - - - - - - - - - - - - - - - as evidence by Domestic Return Receipt PS F,;orm 3811 attached hereto.
           The described documents were not delivered to the named recipient. The certified mai,I' envelope was returned
undelivered marked - - - - - - - - - - - - -
        This forwarding address was provided: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                                                                 )'
                                                                                                                 )">




ARTICLE NO. : 7160-1019-9040-0432-0513                                      El Paso County, Texas

SENT TO: AT&T CORP.                                         By: _ _ _ _.:.::M.:.:e:,:_rc=e=d=e=s'--'R"""""ile::.ly.___ _ _ __
CT CORPORATION SYSTEM                                                 Deputy District Clerk
1999 BRYAN ST. STE. 900
DALLAS, TX 75201-3136
                                                                                          OR
                                                                                                                 '(

POSTAGE: $0.37                                                          Name of Authorized Person '.
FEE: $2.30
RETURN RECEIPT FEE: $1.75                                     By: _ _ _ _ _ _ _ _ _ _ __
DATE SENT: 10/07/2020

SENDER'S NAME: Mercedes Riley                                                                                    ')\
THIS ENVELOPE CONTAINS: Plaintifrs Original
Petition and Request for Disclosure




                                                                                                                 I(



                                         VERIFICATl,©r:;fev AUTHORIZED PERSON

       1
~=~~t: ~:i·:aso                           .     l.     Y
            Before me, a notary public, on this day ~ersonally appeared
                                                                                                                 :
                                                                                                           , known to me to be the person
whose name is subscribed to the foregoing Return of Service, ,and being by me first duly sworni, declared, "I am
                                                   "'-:.'
disinterested party qualified to make an oath of that~act anc}stalements contained in the Return of Service and true and
correct."


                                                                                      Subscribed and sworn to be on this _ _ day
                                                                                      of _ _ _ _ _-,-_ _ _ _ _ _ _ __




                                                                                     Notary Public, State o f - - - - - - - - -
                                                                                      My commission expires: _ _ _ _ _ _ __
El Paso County - 210th Case
                       District3:20-cv-00272-DCG
                               Court                     Document 1 Filed 11/02/20 Page 18  of 23
                                                                                         Filed 11/2/2020 9:05 AM
                                                                                                      Norma Favela Barceleau
                                                                                   4                             District Clerk
                                                                                                              El Paso County
                                                                                                              2020DCV3160
                                                     NO. 2020-DCV-3160

             SANDRA CAMACHO,                                      §      IN THE DISTRICT COURT
                                                                  §
                       Plaintiff,                                 §
                                                                  §
             v.                                                   §      210th JUDICIAL DISTRICT
                                                                  §
             AT&T CORP.,                                          §
                                                                  §
                       Defendant.                                 §      EL PASO COUNTY, TEXAS

                                                   ORIGINAL ANSWER

            TO THE HONORABLE ALYSSA PEREZ:

                   Defendant AT&T Corp. (“Defendant”) files its Original Answer to the Plaintiff’s Original

            Petition filed by Sandra Camacho (“Plaintiff”), and in support thereof respectfully shows as

            follows:

                                              I.          GENERAL DENIAL

                   Pursuant to Tex. R. Civ. P. 92, Defendant generally denies each and every allegation and

            claim Plaintiff has asserted in Plaintiff’s Original Petition and any amendments or supplements

            thereto, and demands strict proof thereof by preponderance of the evidence.

                                                   II.      JURY DEMAND

                   To the extent that Plaintiff has stated a viable cause of action, Defendant joins Plaintiff in

            her demand for a jury trial.

                                                         III.   PRAYER

                   WHEREFORE, PREMISES CONSIDERED, Defendant requests that all claims against it

            be dismissed, that Plaintiff take nothing on her claims against Defendant, and all relief requested

            by Plaintiff be denied.




            DEFENDANT’S ORIGINAL ANSWER                                                                    Page 1
        Case 3:20-cv-00272-DCG Document 1 Filed 11/02/20 Page 19 of 23




Dated: November 2, 2020                             Respectfully submitted,


                                                    /s/ Stacey Cho Hernandez
                                                    Courtney Barksdale Perez
                                                    Texas Bar No. 24061135
                                                    cperez@carterarnett.com
                                                    Stacey Cho Hernandez
                                                    Texas Bar No. 24063953
                                                    shernandez@carterarnett.com
                                                    Ruben Gandia
                                                    Texas Bar No. 24093472
                                                    rgandia@carterarnett.com
                                                    CARTER ARNETT PLLC
                                                    8150 N. Central Expressway
                                                    Suite 500
                                                    Dallas, Texas 75206
                                                    Tel: 214-550-8188
                                                    Fax: 214-550-8185

                                                    ATTORNEYS FOR DEFENDANT,
                                                    AT&T CORP.


                               CERTIFICATE OF SERVICE
       I hereby certify that on November 2 2020, a true and correct copy of this document was
served in accordance with the Texas Rules of Civil Procedure on all counsel of record.



                                                    /s/ Stacey Cho Hernandez
                                                    Stacey Cho Hernandez




DEFENDANT’S ORIGINAL ANSWER                                                              Page 2
                               Case 3:20-cv-00272-DCG Document 1 Filed 11/02/20 Page 20 of 23
JS 44 (Rev. 10/20)                                                            CIVIL COVER SHEET
The JS 44 civil cover sheet and the informationcontainedherein neither replace nor supplementthe filing and service of pleadingsor other papers as required by law, except as
provided by local rules of court. This form, approvedby the Judicial Conferenceof the United States in September 1974,is required for the use of the Clerk of Court for the
purpose of initiatingthe civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                DEFENDANTS

           SANDRACAMACHO
     (b) County of Residenceof First Listed Plaintiff EI PasoI Texas
                                                                                                                 AT&T CORP.
                                                                                                                 County of ResidenceofFirst Listed Defendant                Dallas,Texas
                                                                                                                                                                                                  5
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:      IN LAND CONDEMNATIONCASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
           Enrique Chavez, Jr., Chavez Law Firm, 2101 N. Stanton                                                  Perez, Stacey Hernandez, Ruben Gandia; Carter Arnett
           Street, El Paso, Texas 79902, (915) 351-7772                                                           PLLC, 8150 N. Central Expwy, Suite 500, Dallas, TX 75206,
                                                                                                                 (214) 550-8188
II. BASIS OF JURISDICTION                           (Place an "X" in One Box Only)                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                   "X" in One Box/or Plaintiff
                                                                                                             (For Diversity Cases Only)                                     and One Box for Defendant)
01      U.S. Government                03       Federal Question                                                                          PTF      DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                        Citizen of This State             DI D             Incorporatedor Principal Place      D  4     L4
                                                                                                                                                             of Business In This State

02      U.S. Government                04       Diversity                                               Citizen of Another State          D2 D         2   Incorporatedand Principal Place     □ s □s
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                        Citizen or Subject of a           D3 D         3   Foreign Nation
                                                                                                          Foreign Country
IV. NATURE OF SUIT (Place an                       "X" in One Box OnlY,                                                                    Click here for:
           CONTRACT                                              TORTS                      FORFEITURE/PENALTY




~
     110 Insurance                      PERSONALINJURY                PERSONALINJURY        625 Drug Related Seizure                                                             375 False Claims Act
     120 Marine                         3 IOAirplane                   D
                                                                      365 Personal Injury -      of Property 21 USC 881                                                          376 Qui Tam (31 USC
     130 Miller Act                     315 Airplane Product              Product Liability 690 Other                                                                                3729(a))
     140 Negotiable Instrument                Liability                D
                                                                      367 Health Care/                                       t--=~==i""D'~;:;::; ;-: ;-t-1                       400 State Reapportionment
     150 Recovery of Overpayment        320 Assault, Libel &              Pharmaceutical                                     .,_~~     ~~~----~                                  410Antitrust
          & Enforcement of Judgment           Slander                     Personal Injury                                          820 Copyrights                                430 Banks and Banking
D    151 Medicare Act                   330 Federal Employers'            Product Liability                                        830 Patent                                    450 Commerce
D    152 Recovery of Defaulted                Liability                D
                                                                      368 Asbestos Personal                                        835 Patent - Abbreviated                      460 Deportation
           Student Loans                340 Marine                        Injury Product                                               New Drug Application                      470 Racketeer Influenced and
           (Excludes Veterans)          345 Marine Product                Liability                                                840 Trademark                                     Corrupt Organiz.ations
D    153 Recovery of Overpayment              Liability             PERSONALPROPERTY...,.___          ==l,,:aiill-=----"'""IL--J 880 Defend Trade Secrets                        480 Consumer Credit
          of Veteran's Benefits         350 Motor Vehicle              D
                                                                      370 Other Fraud                                                  Act of2016                                    (15 USC 1681 or 1692)
D    160 Stockholders' Suits            355 Motor Vehicle              D
                                                                      371 Truth in Lending                                                                                       485 Telephone Consumer
D    190 Other Contract                      Product Liability         D
                                                                      380 Other Personal    720 Labor/Management                                                                     Protection Act
D    195 Contract Product Liability     360 Other Personal                Property Damage        Relations                                                                       490 Cable/Sat TV
D    I 96 Franchise                          Injury                    D
                                                                      385 Property Damage   740 Railway Labor Act                                                                850 Securities/Commodities/
                                        362 Personal Injury -             Product Liability 751 Family and Medical                                                                   Exchange
                                            Medical Malpractice                                 Leave Act                                                                        890 Other Statutory Actions
                                                                   ·p                       790 Other Labor Litigation                                                           891 Agricultural Acts
                                                              ts                            791 Employee Retirement                                                              893 Environmental Matters
     220 Foreclosure                         Voting                                             Income Security Act                                                              895 Freedom of Information
     230 Rent Lease & Ejectment            2 Employment               510 Motions to Vacate                                       870 Taxes (U.S. Plaintiff                          Act
     240 Torts to Land                     3 Housing/                     Sentence                                                     or Defendant)                             896 Arbitration
     245 Tort Product Liability              Accommodations           530 General                                                 871 IRS-Third Party                            899 Administrative Procedure
     290 All Other Real Property           5 Amer. w/Disabilities
                                             Employment
                                                                      535 Death Penalty
                                                                      Other:
                                                                                                        t::;;:i~~f~lllE~~;--~-..r-      26 USC 7609                                  Act/Review or Appeal of
                                                                                                                                                                                     Agency Decision
                                        446 Amer. w/Disabilities-     540 Mandamus & Other                                                                                       950 Constitutionality of
                                             Other                    550 Civil Rights                                                                                               State Statutes
                                        448 Education                 555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN           (Place an "X" in One Box Only)
DI      Original         02    Removedfrom                  □ 3 Remandedfrom                       D4   Reinstatedor      D       5 Transferredfrom        D6    Multidistrict        D 8 Multidistrict
        Proceeding             State Court                            AppellateCourt                    Reopened                    Another District             Litigation-                 Litigation -
                                                                                                                         (specify)                                     Direct File
                                                                                                                                                                 Transfer
                                            Cite the U.S. Civil Statute under which you are filing (Do not citejurisdictionalstatutesunless diversity):
                                             mericanswith DisabilitiesAct, 42 U.S.C. § 12101, et seq. (ADA} and the Americanwith DisabilitiesAct AmendmentsAct of 2008 (ADAAA}
VI. CAUSE OF ACTION Brief descriptionof cause:
                                            Employmentdispute over allegedviolationsof the ADA and ADAAA by former employer.
VII. REQUESTED IN                           0    CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDERRULE 23, F.R.Cv.P.                                  200,000-1,000,000                            JURYDEMAND:          0Yes      0No
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                            JUDGE
                                                                                  ----------------                                               DOCKETNUMBER
                                                                                                                                                                         ------------
                                                                               s~rrr
DATE                                                                       SIGNATUREOF ATTORNEYOF RECORD
      11/2/2020
FOR OFFICEUSE ONLY
     RECEIPT#                      AMOUNT                                       APPLYING IFP                                      JUDGE                           MAG.JUDGE
               Case 3:20-cv-00272-DCG Document 1 Filed 11/02/20 Page 21 of 23

                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                                                                                       6
                                   El Paso           DIVISION

                                 Supplement to JS 44 Civil Cover Sheet
                                Cases Removed from State District Court

This form must be filed with the Clerk's Office no later than the first business day
following the filing of the Notice of Removal. Additional sheets may be used as necessary.

The attorney of record for the removing party MUST sign this form.

STATE COURT INFORMATION:

1.    Please identify the court from which the case is being removed; the case number; and the
complete style of the case.
210th District Court of El Paso, County, Texas; No. 2020-DCV-3160; Sandra Camacho v. AT&T Corp.




2.     Was jury demand made in State Court?                      Yes            No

If yes, by which party and on what date?

Sandra Camacho                                            9/30/2020
Party Name                                                Date


STATE COURT INFORMATION:

1.     List all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the
attorney(s) of record for each party named and include the attorney's firm name, correct mailing address,
telephone number, and fax number (including area codes).
Plaintiff Sandra Camacho, Enrique Chavez, Jr., Chavez Law Firm, 2101 N. Stanton Street, El Paso, Texas
79902, T: (915) 351-7772, F: (915) 351-7773

Defendant AT&T Corp., Stacey Cho Hernandez, Carter Arnett PLLC, 8150 N. Central Expwy, Suite 500,
Dallas, Texas 75206, T: (214) 550-8188, F: (214) 550-8185
2. List all parties that have not been served at the time of the removal, and the reason(s) for non-service.
None




TXWD - Supplement to JS 44 (Rev. 9/2019)                                                              Page 1
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3.   List all parties that have been non-suited, dismissed, or terminated, and the reason(s) for their
removal from the case.
None




COUNTERCLAIMS, CROSS-CLAIMS, and/or THIRD-PARTY CLAIMS:

1.      List separately each counterclaim, cross-claim, or third-party claim still remaining in the case and
designate the nature of each such claim. For each counterclaim, cross-claim, or third-party claim, include
all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the attorney(s) of
record for each party named and include the attorney's firm name, correct mailing address, telephone
number, and fax number (including area codes).
None




VERIFICATION:



Attorney for Removing Party                               Date


Defendant AT&T Corp.
Party/Parties




(NOTE: Additional comment space is available on page 3)

                                                                           Reset all fields   Print Form




TXWD - Supplement to JS 44 (Rev. 9/2019)                                                               Page 2
              Case 3:20-cv-00272-DCG Document 1 Filed 11/02/20 Page 23 of 23

ADDITIONAL COMMENTS (As necessary):




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